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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FORT SMITH DIVISION


 UNITED STATES OF AMERICA                                                         PLAINTIFF

 v.                                Case No. 2:20-cr-20017-010

 JULIE ANN PYLES aka Julie Ann Perceful                                         DEFENDANT


                                          ORDER


       At the detention hearing held this date, the Court, after hearing testimony and reviewing

evidence presented, detained the Defendant. Defendant remanded to custody of the U. S. Marshals

Service.

       Dated: September 21, 2020


                                            /s/ Mark E. Ford
                                            HONORABLE MARK E. FORD
                                            UNITED STATES MAGISTRATE JUDGE
